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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF NEW YORK

 MULHERN GAS CO., INC., et al.,

                        Plaintiffs,                   Case No. 1:23-cv-01267 (GTS/CFH)

         v.                                           STIPULATION AND [PROPOSED]
                                                      ORDER EXTENDING TIME TO FILE
 ROBERT J. RODRIGUEZ, et al.,                         REPLY BRIEF
                        Defendants.


                                         STIPULATION

        On December 18, 2023, Defendants filed a motion, pursuant to Rule 12(b)(1) of the Federal

Rules of Civil Procedure, to dismiss certain of the Defendants from this action. On January 8,

2024, Plaintiffs filed their opposition to that motion and the reply brief is currently due on January

16, 2024. Due to the press of other work and planned vacation time for Defendants’ counsel,

Defendants contacted Plaintiffs’ counsel to request agreement to a one-week extension of the

deadline for Defendants to file their reply brief and Plaintiffs have no opposition to that requested

extension. The parties therefore jointly stipulate and request that the Court order as follows:

        1.       Defendants’ deadline to file their reply brief shall be extended until January 23,

2024.




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Dated: January 9, 2024                          Respectfully submitted,

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Attorneys for Plaintiffs


IT IS SO ORDERED.
Dated: __________________                         _______________________
                                                  Hon. Christian F. Hummel
                                                  U.S. Magistrate Judge




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